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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

UNITED STATES OF AMERICA                         '
                                                 '
V.                                               '    CASE NO. 1:17-CR-34
                                                 '
MARTIN GUTIERREZ                                 '

                           ORDER ADOPTING
        FINDINGS OF FACT AND RECOMMENDATION ON PLEA OF TRUE

       The Court referred this matter to the Honorable Keith F. Giblin, United States Magistrate

Judge. In accordance with 18 U.S.C. § 3401(i) and 18 U.S.C. § 3583(e), Judge Giblin held a hearing

and submitted findings of fact and a recommendation on the defendant’s plea of true. The magistrate

judge recommended that the Court revoke the defendant’s supervised release and impose a term of

imprisonment for the revocation. The parties agreed to the recommended sentence.

       The parties filed notices indicating that theyhave no objections to the recommended sentence

(doc. #73, doc. #74). The Court ORDERS that the findings of fact and recommendation on plea

of true (doc. #72) are ADOPTED and the defendant’s supervised release is revoked. Pursuant to

Judge Giblin’s recommendation, the Court ORDERS the defendant, Martin Gutierrez, to serve a

term of five (5) months imprisonment, with credit for time served and no further supervised release.


      SIGNED this the 11 day of January, 2021.




                                     ____________________________
                                     Thad Heartfield
                                     United States District Judge
